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                                   STATEMENT OF FACTS

       Your affiant,                  , is a Task Force Officer (TFO) assigned to FBI Tampa Joint
Terrorism Task Force (JTTF). As a member of the JTTF, my responsibilities include investigating
criminal activity in and around the Capitol grounds on January 6, 2021. As a Task Force Officer
with the FBI, I am authorized by law or by a Government agency to engage in or supervise the
prevention, detention, investigation, or prosecution of violations of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                       FACTS SPECIFIC TO TROY JAMES TERINO

       I have studied video footage and still photographs of the January 6, 2021 incursion of the
U.S. Capitol, and I have identified an individual there as TROY JAMES TERINO (TERINO), of
Odessa, Florida, for the reasons described herein. Also described herein, the images and video
footage that I have reviewed, as well as the other facts gathered in this investigation, provide
probable cause to conclude that TERINO did unlawfully enter the U.S. Capitol on January 6, 2021.

       Video footage taken on January 6, 2021 shows an individual appearing to be TERINO
wearing a red “Make America Great Again” cap, a tan hooded jacket, and blue disposable face
mask. Image 1 below is a screenshot from surveillance footage outside of the U.S. Capitol on
January 6, 2021 showing an individual believed to be TERINO.




                                              Image 1

        On or about January 16, 2021, the FBI conducted an interview of a known TERINO
associate, Witness-1. Witness-1 has known TERINO for more than 25 years. Witness-1 reported
that TERINO said he was going to Washington, D.C. on January 5, 2021. According to Witness-
1, TERINO said on January 8, 2021 that he believed the FBI may be listening to his calls and that
things were “worse than he thought” and “how bad it was.” When Witness-1 spoke with law
enforcement in January 2021, Witness-1 did not have any information about TERINO entering the
U.S. Capitol or otherwise engaging in illegal activity. In April 2022, Witness-1 was provided with
photographs of an individual believed to be TERINO, including Image 1, and Witness-1 identified
the individual as TERINO with 95% certainty. Witness-1 stated that TERINO’s right arm was
disabled, and Witness-1 noted surprise that the arm was not in a sling in the photographs.

       According to records obtained through a search warrant which was served on Google, on
January 6, 2021, in and around the time of the riot, a Google Account ID related to email address
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stated in the interview that he was pushed by the crowd into the building. TERINO claimed U.S.
Capitol Police were “herding people” through the Capitol, akin to “a guided tour.” TERINO
acknowledged that he saw people breaking windows, and he said tear gas was deployed prior to
the Capitol breach. TERINO identified himself as the individual depicted in Image 1 and other
photographs from January 6, 2021.

       Law enforcement officers reviewed surveillance video from cameras mounted within the
U.S. Capitol building and observed TERINO in the U.S. Capitol building. Video depicts TERINO
entering the Capitol through the Senate Wing Door at approximately 2:58 p.m., as shown below
in Image 3.




                                          Image 3

       Video shows TERINO then walk through the Crypt. The video shows he then walked
down a hallway by the House Wing Door and through the Hall of Columns, as shown in Images 4
and 5.
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                                        Image 4




                                        Image 5

       Finally, video shows TERINO proceeded out of the Capitol through the South Door at
approximately 3:02 p.m., as shown in Image 6.
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                                              Image 6

       In total, closed circuit surveillance video depicts TERINO inside the Capitol for
approximately five minutes.

     A law enforcement officer who participated in the September 20, 2021 interview of
TERINO identified him in Images 3-6 above.

         Based on the foregoing, your affiant submits that there is probable cause to believe that
TERINO violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter
or remain in any restricted building or grounds without lawful authority to do; and (2) knowingly,
and with intent to impede or disrupt the orderly conduct of Government business or official
functions, engage in disorderly or disruptive conduct in, or within such proximity to, any restricted
building or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct
of Government business or official functions; or attempts or conspires to do so. For purposes of
Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off, or otherwise
restricted area of a building or grounds where the President or other person protected by the Secret
Service, including the Vice President, is or will be temporarily visiting; or any building or grounds
so restricted in conjunction with an event designated as a special event of national significance.

        Your affiant submits there is also probable cause to believe that TERINO violated 40
U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly (D) utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in that
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building of a hearing before, or any deliberations of, a committee of Congress or either House of
Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.




                                                            _____________________
                                                             , Task Force Officer
                                             FBI Tampa

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 13th day of December 2023.
                                                              Zia M.
                                                              Faruqui
                                             ___________________________________
                                             HON. ZIA M. FARUQUI
                                             U.S. MAGISTRATE JUDGE
